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      EXHIBIT 25
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                                        [Logo]
                                    Qatar Charity



                            Annual Report 2013


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    Introduction

    This report deals with the most important projects and activities carried out by Qatar Charity in Palestine
    through its office in the West Bank, and sheds light on the main sectors viz. the economic empowerment
    sector, the housing sector, the education sector and the health sector, in each of which it has
    implemented related projects. The education projects, income-generating projects, seasonal projects
    etc., mentioned later in this report have been implemented.

    About Qatar Charity in Palestine

    A branch of the association was opened in Palestine in 1996 and was registered with the Palestinian
    Ministry of Interior under number (5) pursuant to the Ottoman Law on Social Associations and
    Institutions of 1909. It operated since that time until the year 2007 through the association’s field offices
    in the city of Hebron and Gaza, until the association’s branch was re-opened in Palestine in 2009 and
    registered with the Palestinian Ministry of Interior under number QR-0129-F in accordance with the
    provisions of the Law on Associations and Civil Society Organizations No. (1) of 2000.

    The goals, mission and vision of the Qatar Charity Palestine Office are in line with the general goals of
    the head office of the Qatar Charity Association in Doha, and are as follows:

           Mission of the Association: Support the capacities of the neediest groups to achieve human
            dignity and social justice in cooperation with partners
           Vision of the Association: Model of a leading and distinguished Islamic institution that
            combines foundation, creativity and professionalism in the field of development and
            humanitarian aid
           Basic Values of the Association: humanity, non-discrimination, neutrality, independence,
            professionalism, cooperation.

    The actual separation between Qatar Charity’s two offices in Palestine is worth noting, as there has
    been administrative and financial separation between Qatar Charity’s office in the West Bank and the
    Gaza Strip office from the beginning of April 2013.

    Staff – West Bank Office

    Qatar Charity’s office in the West Bank comprises a distinguished team with local and international
    expertise in several areas that contribute to planning and implementing qualitative sustainable
    development and relief projects. The office’s employees are divided as follows:

           Core employees: The core staff of Qatar Charity comprises eight employees, including
            administrators and employees of the sponsorship programs. Qatar Charity needs to fill the
            vacancy for a ‘Sponsorships Program Coordinator’, ‘Program Manager’ and a ‘Construction
            Projects Manager’.



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             Employees within projects: Qatar Charity’s office in the West Bank has built partnerships with
              a number of international and local institutions in order to implement economic empowerment
              projects in Palestine. In this context, a number of employees, who were previously volunteers
              and trainees, have been employed at the association’s office.
             Trainees: Qatar Charity provides the necessary training for university graduates in order to
              bridge the gap between academic life and the requirements of the labor market.
             Volunteers: Qatar Charity welcomes volunteers who are university students or graduates who
              have not found a job, and through this it tries to maintain the volunteer culture in Palestine.



     No.       Employee Name                        Job Title                           Nature of Contract
     1.       Jawda Jamal          Acting Regional Manager                        Core Employee
     2.       Najwan Awda          Administrative   and    Logistical   Affairs   Core Employee
                                   Officer
     3.       Dua Zamar            Administrative Assistance                      Core Employee
     4.       Dawlat Othman        Services Employee                              Core Employee
     5.       Fadi Munasira        Accountant                                     Core Employee
     6.       Mohamed Rahil        Sponsorships Program Field Supervisor          Core Employee
     7.       Wisam Abu Khalil     Sponsorships Program Field Supervisor          Core Employee
     8.       Inam Abul Qaran      Sponsorships Program Field Supervisor          Core Employee
     9.       Rasha Bayatenah      Social Researcher                              Pioneer Project Employee
     10.      Amal Abdullah        Social Researcher                              Pioneer Project Employee
     11.      Haya Hamouda         Social Researcher                              Beneficiary of the Pioneer Project
                                                                                  within the Job Creation program
     12.      Alaa Karabiliya      Social Researcher                              Beneficiary of the Pioneer Project
                                                                                  within the Job Creation program
     13.      Dua Nakhla           Social Researcher                              Beneficiary of the Pioneer Project
                                                                                  within the Job Creation program
     14.      Fayrouz Samara       Volunteer in the Sponsorships Program
     15.      Hanadi Obaid         Volunteer in the Sponsorships Program
     16.      Arwa Abu Helw        Trainee in the accounting field




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    Qatar Charity’s Programs and Projects in the West Bank for the Year 2013

    The Qatar Charity office in the West Bank implemented a number of projects and activities during the
    2013 year, which are as follows:

    Sponsorships and Social Welfare Projects

    The table below shows the numbers of persons sponsored by the Qatar Charity office in the West
    Bank by category, as well as the benefits transferred to each category throughout the year.

                                                                  Transfers in Qatari Riyals
     No.       Sponsorship        No. of             First Quarter            Second Quarter           Third Quarter           Fourth Quarter           Total Transfers
               Category           persons
                                  sponsored
     1         Families           627                QR 491,558.10            QR 498,000.60            QR 532,788.30           QR 479,663.10            QR 2,002,010.10
     2         Orphans            2946               QR 1,345,054.50          QR 1,380,357.00          QR 1,482,098.00         QR 1,499,269.50          QR 5,706,779.00
     3         Disability         289                QR 152,212.50            QR 161,122.50            QR 158,963.40           QR 162,562.50            QR 634,860.90
     4         Students           86                 QR 46,660.50             QR 45,535.50             QR 43,465.50            QR 47,264.40             QR 182,925.90
     5         Preachers          5                  QR 1,620.00              QR 1,620.00              QR 1,620.00             QR 2,520.00              QR 7,380.00
                                                 Total amounts transferred to sponsored individuals during the 2013 year in figures =                   QR 8,533,955.90
                            The amount in words is equivalent to (eight million five hundred and thirty-three thousand nine hundred and fifty-five riyals and ninety dirhams only)




    It is worth noting that the West Bank office still processes the transfer of benefits to beneficiaries via
    the bank, and an ATM card (a Sanabel card) is issued to each beneficiary as part of an agreement
    between Bank of Palestine Limited and Qatar Charity in Palestine. The beneficiary uses the card to
    obtain his benefits every 3 months via ATMs spread throughout the West Bank. This mechanism results
    in the achievement of the following key objectives:

                Preserving the dignity of sponsored individuals
                Facilitating access for the sponsored individuals to their benefits with the least time, effort and
                 cost

    This mechanism proved its effectiveness and efficiency during the period between 2011 and 2013. The
    mechanism also gives the West Bank Office the ability to increase the number of sponsorships, which
    is what the administration of Qatar Charity’s office in the West Bank aspires to do, especially since the
    office was the pioneer in adopting this mechanism and its objectives have been achieved.




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    The Pioneer Project

    In February 2009, Qatar Charity concluded an agreement with the Islamic Development Bank and the
    United Nations Development Program to implement the Pioneer Project for the Economic
    Empowerment of Poor Families in Palestine, which contributes to building the productive capacities of
    poor Palestinian families to make them self-reliant in the future and preserve their dignity. It is to be
    noted that the project is financed by the Islamic Development Bank, in addition to a contribution from
    Qatar Charity in the amount of 4,500,000.00 UD dollars distributed in three phases. During the year
    2013, Qatar Charity completed the third phase of the implementation of the project, to the value of
    (USD 1,500,000.00), and directed this towards the sectors referred to according to the following table
    such that at least 85% of the beneficiaries of the project were persons sponsored by Qatar Charity,
    whether families, orphans, students or the disabled.

    As an example of one of the activities implemented within the Pioneer Project, the ‘Al Mintar Bedouin
    community,’ which falls within the lands of the town of Al Sawahera Al Sharqiya, in the city of
    Jerusalem, was chosen. This community is adjacent to an Israeli settlement called ‘Kedar’ that was
    established by the Israeli occupation on the lands of the city of Jerusalem, and the lands stretch right
    until the Dead Sea. The residents of this community suffer from the daily policy of displacement
    practiced by the occupation against them, who regards their presence as a thorn in its side and an
    obstacle to the expansion of the Israeli settlement. It was thus necessary to improve the lives of families
    in this community in order to strengthen their resolve on the ground. Families were provided with 65
    units of solar cells that are used to receive solar energy and then convert it into electrical energy that is
    used to power a small refrigerator or a small television, given that between 250-350 residents in the
    community benefit from this project.




     b               Israeli Settlements
                   rinneli   1    4 :11




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                                            Second Phase of Implementation of the Pioneer Project

No.          Sector        Geographical     Proposed        Implementing                                     Comments
                               Areas        Amount $          Institution
1     Health Sector       All areas of    $ 500,000.00    Union of Health   1. Provide primary healthcare to poor families
                          the West Bank                   Work Committees   2. Pay health insurance premiums
                                                                            3. Pay the costs of emergency surgeries
2     Housing And Home    Hebron and      $ 500,000.00 Islamic Charity      1. Renovate old houses
      Renovation Sector   Bethlehem                     Association         2. Add rooms, kitchens and bathrooms
                          Governorates                                      3. Provide some required and necessary furniture
3     Education Sector    All areas of    $ 150,000.00 YMCA                 Adopting university students and supporting them in securing their
                          the West Bank                 By managing the     university installments, and in return undergraduate students benefiting
                                                        student-to-student  from these installments teach a group of poor students in schools in order
                                                        initiative          to raise the level of their academic achievement.
4     Economic            All areas of    $ 250,000.00 YMCA                 1. Provide agricultural “animal and plant wealth” income-generating
      Empowerment and     the West Bank                                          projects
      Income Generating                                                     2. Commercial projects
      Projects Sector                                                       3. Services projects
                                                                            4. As per the sectors that were recommended after the study conducted
                                                                                 by the Center for Continuing Education.
                                                                            * An amount of 650 dollars is allocated to follow-up on social research
                                           $ 300,000.00 Arab Center for     * A monthly amount of 500 dollars is allocated to the employee
                                                        Agricultural        following up on income-generating projects
                                                        Development         * A monthly amount of 645 dollars is allocated to a part-time employee
                                                        (ACAD)              to follow up on income-generating projects
          Total                           $1,700,000.00 In words: One million seven hundred thousand dollars only




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    Income Generating Projects

    The Qatar Charity office in the West Bank implemented three income-generating projects, which are
    the projects that were sent via the electronic portal to Qatar Charity, indicated below:

    Project Number 102538

       Through this project, the beneficiary (Tamam Saeed Ibrahim Shushi) was
       granted two heads of goats, for the project value of (3,500.00 Qatari riyals). It
       is noted that the beneficiary (Tamam) is sponsored by Qatar Charity within the
       Families Sponsorship No. F/102/1341, an she is a widow who supports a
       family consisting of 7 people, including her daughter who is also widowed.              [Photo]
       Soon, Tamam’s family will start benefiting from goat milk, especially after one
       of the goats recently gave birth to a baby, and the family is waiting for the
       second goat to give birth. The beneficiary will nurture the kid goats and at the
       same time utilize the mothers’ milk for the production and sale of dairy
       products and benefit from the financial return in order to improve her family’s
       living conditions.




   IProject Number 104318

                              Through this project, the beneficiary (Irsan Mashaqi) was given a dairy cow
                              for the project value of (10,000.00 Qatari riyals). The beneficiary has
             [Photo]          impregnated the cow in order to benefit from the newborn and to stimulate it
                              to produce a larger quantity of milk in order to derive more benefit.




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     Project Number 104560

      Through this project, the beneficiary was granted the project amount of
      (10,000.00 Qatari riyals) as a contribution to the price of a dairy cow that was
      purchased by the beneficiary (Nahla Daoud Muhammad Othman), who is
      sponsored by Qatar Charity, under a family sponsorship.
      The beneficiary also purchased a milking machine to use to milk the cow in                [Photo]
      order to get a larger amount of milk.
      It is worth noting that Mrs. Nahla is the breadwinner for her family consisting
      of five members, and Mrs. Nahla milks the cow daily to produce approximately
      30 liters of cow’s milk, which she then sells or converts into a milk derivative
      such as cheese.
      We would also like to indicate that the cow recently gave birth, and the beneficiary sold the calf and
      utilized the amount to purchase fodder and straw needed by the mother cow. She has also started to
      make use of the milk by either selling it or alternatively using it to make cheese.



     Seasonal Projects

     Iftar Projects

     Every year before the beginning of Ramadan, Qatar Charity launches a number of humanitarian
     projects to meet the immediate needs of poor and needy families.

     In 2013, the Iftar Project for fasting persons was approved, and this project aims to contribute to
     strengthening the principles of family and social solidarity among all segments of society through hot
     Iftar meals that are distributed to families in their homes, or Ramadan tables that are set up, so that we
     contribute to providing the fast breaking meal to the largest number of fasting persons in different cities
     and locations, in addition to enhancing the economic capacity of companies and also of productive
     families. In 2013, the persons sponsored by Qatar Charity accounted for 44.07% of the total
     beneficiaries. The 55.93% of beneficiaries, who were not sponsored by Qatar Charity, were all
     distributed across the cities of the West Bank, Jerusalem and the 1948 area, and the total number of
     beneficiaries was 24,889 individuals, given that the project budget was 554,759.00 Qatari riyals.

     The locations for implementation were chosen in accordance with the visitors to these places i.e., in
     accordance with the type of beneficiaries in each place. Hereunder, we present the names of the places
     and the nature of the beneficiaries visiting each place:




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     Blessed Al-Aqsa Mosque
     In the month of Ramadan in the year 2013, 2580 Iftar meals were distributed
     within the courtyards of the Al-Aqsa Mosque over a period of 3 days                      [Photo]


     Hospitals in Jerusalem
     The ‘Augusta Victoria – Mutalli’ Hospital, the ‘Hadassah Israeli Hospital
     located in the village of Ein Karem, one of the Jerusalem villages that was
     displaced in the year of the Nakba
     1948’ and the ‘Makassed Islamic Charitable Society Hospital,’ all situated
     in the city of Jerusalem. They all receive patients from all parts of Palestine,
     and patients who have to stay overnight are accompanied by members of
     their family who cannot leave their patient and return to their homes. The               [photo]
     necessity for a person to accompany the patient results in a financial burden
     that the companion cannot afford, and includes the need for clothes,
     communication expenses, daily meals, personal expenses and many other
     needs.
     Qatar Charity secured 1,550 iftar meals for hospital companions during the
     blessed month of Ramadan.


     Old City (Jerusalem)
     The residents of the Old City of Jerusalem suffer from various types of daily displacement by the
     Israeli occupation, in addition to the continuous attacks on residents by Jewish settlers who live in
     the Old City and who struggle with the Palestinians daily to force them to leave their homes so that
     they can seize them. Besides the deteriorating economic situation of the Palestinians living in the Old
     City, in particular, and Palestine, in general, which is reflected in their social life within the family,
     there are families that include divorced women, orphans and prisoners, which makes the economic
     situation worse day after day as families are unable to provide for the basic needs of their members,
     including their daily food.
     Qatar Charity was able to deliver 2,000 Iftar meals to residents in the Old City during the month of
     Ramadan in 2013.


     Shuafat Camp for Palestinian Refugees - Jerusalem
     The Shuafat camp is located adjacent to the city of Jerusalem, in the area adjacent to the apartheid
     wall. The residents of the camp suffer from the obstacles imposed by the Israeli occupation and from
     the bad economic situation as a result of the high unemployment rate after the construction of the
     wall, which deprived many young people of access to their jobs.
     Hence, it was necessary for Qatar Charity to intervene and provide Iftar meals to those fasting in the
     blessed month of Ramadan, to meet the family’s need for one day in the holy month.


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     Bab Hutta - One of the Gates of the Jerusalem wall
     Due to the special nature of this gate and the fact that it is one of the main
     gates for worshippers to enter the Al-Aqsa Mosque, Qatar Charity decided                 [Photo]
     in 2013 to take a bold step to distribute Iftar meals to worshippers as they
     passed through this gate. This was done in cooperation with the Al Razem
     family of Jerusalem, who live near the gate. Members of this family, in
     cooperation with other volunteers, distribute meals to fasting persons who
     come to the mosque according to a timetable prepared by Qatar Charity.


     The Great Mosque of Jaffa in the city of Jaffa, one of the cities occupied in 1948
     Those who frequent this mosque are residents of the city, Muslim tourists who come to visit it, and
     African Muslims who fled from Sudan and Eritrea and sought political asylum in Palestine, and who
     are now at the mercy and disposal of the Israeli occupation, which does not treat them fairly, but
     rather arrests them or returns them to their countries as part of arms exchange deals. This forces these
     Africans to flee permanently, which is reflected in their instability, and they find the mosques to be
     places of temporary comfort, especially during the holy month of Ramadan. Therefore, Qatar Charity
     supplies a number of meals to the mosque every year in order to feed its visitors, especially African
     Muslims who are stranded, as neither their country accepts them nor does the Israeli occupation allow
     them to be in Palestine and give them their rights as political refugees.


     The Ibrahimi Mosque in Hebron
     Most of the worshippers in the Ibrahimi Mosque in the city of Hebron are residents of the old town,
     in which the sanctuary is located, and which has been controlled by the Israeli occupation since the
     Ibrahimi Mosque massacre. Therefore, Qatar Charity provided meals to worshipers retreating in the
     mosque to enhance their steadfastness within the religious holy sites to protect them.


     Bedouin Communities
     Palestinian Bedouins, especially in the eastern deserts of the West Bank, suffer from
     many problems, and Qatar Charity has contributed by providing a number of meals             [photo]
     in three Bedouin communities.




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     The International Center for Palestinian Culture and Media in the
     village of Al Eizariya (Bethany), Jerusalem District
     The association comprises a center for teaching the memorization of the                    [Photo]
     Quran. Stemming from Qatar Charity’s belief in the importance of the
     existence of these centers for teaching the memorization of the Quran, and
     the importance of strengthening the faith of Muslims and consolidating
     their ties to Allah Almighty and the revival of their religious spirit, Qatar
     Charity will hold a collective Iftar for students who frequent the center and
     who have memorized the Quran, to encourage them as individuals, and in
     support of their association.


     Patients Friends Society / Abu Raya Rehabilitation Center
     Qatar Charity’s role in supporting these patients who reside in the center, as well as their
     accompanying families, and sharing a Ramadan Iftar with them, is reinforced through Qatar Charity’s
     relationship as an international organization with rehabilitation centers, especially since the office’s
     sponsorship program includes hundreds of disabled people, who are among the most important
     groups in need that Qatar Charity targets in most of its projects.


     Palestinian Society for Care and Development
     This is a charitable association that works to serve, care and rehabilitate the disabled
     in the Al-Amari camp for Palestinian refugees, one of the refugee camps located in            [photo]
     the city of Ramallah. The association also serves the disabled in the vicinity of the
     camp. The total number of disabled persons registered with the association is 250,
     comprising individuals with different types of disabilities and of different ages.
     Qatar Charity decided to host an Iftar for the disabled persons and their families,
     due to the fact that Qatar Charity sponsors this category within its Sponsorship
     Program, so as to enhance the role of institutions that provide services to the
     disabled.




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     Birzeit University
     Birzeit University comprises students from various cities of the West Bank
     and Gaza Strip. In view of the difficulties that students face in moving                [Photo]
     between the university and home as a result of the Israeli military
     checkpoints that the Occupation sets up at entrances to cities and between
     roads, they have to live close to the university in private student homes,
     which increases the financial burden on their shoulders, and due to their
     lack of additional savings to secure their essential needs while they are away
     from their families. Therefore, Qatar Charity decided to hold an Iftar for
     expatriate students, especially since Qatar Charity sponsors this category
     within the Sponsorships Program.


     Solidarity Charitable Association
     Qatar Charity always maintains good relations with its partners, especially local associations, as these
     associations have wide-ranging ability to implement projects in the field and reach beneficiaries,
     especially since they serve beneficiaries in the same cities. Therefore, it was necessary to support the
     Solidarity Association, which is a strategic partner, and to provide them with a number of Ramadan
     meals so that they, in turn, distribute them to underprivileged families who are not sponsored by
     Qatar Charity.


     Targeted governorates and places that include persons sponsored by Qatar Charity
     Qatar Charity targeted persons sponsored by the association in a number of governorates in the West
     Bank, as shown below:
     1) Hebron Governorate: Implemented by partner centers and associations, viz.
        Al Raja Center for Special Education
        Al Ihsan Charitable Association
        The Palestinian Horizons Club
        Hebron Central Zakat Committee
     2) Ramallah and Al-Bireh Governorate: Implemented in cooperation with the Family Recovery
     Association
     3) Bethlehem Governorate: Implemented in cooperation with the Bethlehem Central Zakat
     Committee
     4) Nablus Governorate: Implemented directly by Qatar Charity.
     5) Tubas Governorate: Implemented in cooperation with the Al-Fara’a Village People’s Committee




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     Zakat Al-Fitr Project

     This project aims to work to fulfil the religious spirit that urges the payment of Zakat al-Fitr, in addition
     to helping poor families provide for their necessary requirements. The Ramadan projects culminated in
     the disbursement of Zakat Al-Fitr to a total of (690 families) comprising (4,140 individuals), bringing
     the total amount of the Zakat Al-Fitr project to (176,260.00 Qatari riyals), equivalent to (48,290.00 US
     dollars) at a rate of (70 dollars) per family. It is to be noted that 50% of the families are those sponsored
     by Qatar Charity, and the other 50% of the families are those whose case has been studied and they are
     awaiting sponsorship.

     Sacrificial Animals Project

      This stems from Qatar Charity’s eagerness to extend
      a helping hand and provide support and assistance to
      the Palestinian people through the establishment of
      development, relief and humanitarian projects and
                                                                                   Bethlehe
      other projects that contribute to alleviating the                    Jericho, m, 7%
                                                                             2%
      suffering of the poor, the needy and people with           Ramalla
                                                                 h, 10%
      special needs, and that also contribute to creating a                                      Hebron,
      better atmosphere for the development and building                                          26%

      of the individual and society. The Sacrificial Animals
      Project includes the provision of sacrificial meat in            Jerusale                       Jenin,
                                                                       m, 19%                          7%
      all Palestinian governorates in order to reach the
                                                                                                 Nablus,
      largest possible number of needy people, including                                          10%

      those sponsored by Qatar Charity, and to achieve the           Salfit,
                                                                      5%          Tulkarm, Qalqilya
      desired goal of the project.
                                                                                     7%      , 7%
      The project budget amounted to 280,240.00 Qatari
      riyals, with 16,980 beneficiaries and the percentages
      of distribution across the governorates of the West
      Bank, are as shown in the adjacent drawing.


      [photo] One of the highlights of the project is the ability of Qatar Charity to work within the walls of
      the old city of Jerusalem in general, where Qatar Charity distributed the sacrificial meat rations to
      the underprivileged families who live in the Old City of Jerusalem. Qatar Charity chose the butchers
      market within the walls of the old city as a distribution point for beneficiaries Through this, it worked
      to reach the beneficiaries in the same town, and to activate the commercial movement inside
      Jerusalem on the days of Eid, which was positively reflected in Qatar Charity’s name and reputation
      as one of the leading institutions working within the city of Jerusalem in general and Al-Aqsa Mosque
      in particular.



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     Project for Supplying Emergency Needs to Sponsored Individuals

     Based on instructions from the head office, an amount of 41,221.00 Qatari riyals has been approved in
     order to secure emergency needs for sponsored individuals who live in emergency conditions and
     deserve rapid intervention, especially sponsored individuals who suffer from illness or sponsored
     families that are exposed to emergency disruptions that require urgent intervention to cover their
     pressing needs.

     Accordingly, the staff at the office prepared a list of sponsored individuals who meet the above-
     mentioned specifications, and the needs of each of them were identified. These needs varied as follows:

            Ordinary and electric wheelchairs - but only ordinary wheelchairs were purchased due to the
             high price of the electric chair and the inability to purchase it within the project budget.
             Wheelchairs were purchased for those who suffer from motility issues as a result of muscular
             atrophy and other disorders.
            Hearing aids for sponsored individuals who have hearing difficulties or problems
            Medical glasses for those who suffer from vision problems such as myopia and vertical
             deviation.
            A bed with a medical air mattress for a disabled person suffering from spasticity, scoliosis, and
             muscular atrophy
            A computer for a sponsored student who is studying pharmacy and who does not have a
             computer to continue her studies and university work.




                             [photo]                                   [photo]




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     Projects Funded by the European Union

     Qatar Charity, through its good relations with local and international institutions, encouraged local
     institutions to apply for projects funded by the European Union. In this context, the Union of
     Agricultural Work Committees won two projects funded by the European Union as follows:

     First Project: Moving livestock breeders from dependence on others to self-reliance through
     developing animal wealth and increasing the size of the market

     This project is being implemented in 76 locations in the areas of Bethlehem, Hebron, East Jerusalem,
     South Jericho, and areas east and south of the West Bank, with funding in the amount of 3,150,000.00
     euros, over a period of 24 months, in a partnership between the Union of Agricultural Work
     Committees, Qatar Charity, GVC – Italia, the Palestinian Hydrological Group for the Development of
     Water Resources and the Environment, the Jericho Cooperative Society for Development of Animal
     Wealth and other partners.

     Second Project: Improving the Olive Oil Quality

     This project is being implemented in areas north of the West Bank, with funding in the amount of
     2,100,000.00 euros, over a period of 24 months, in a partnership between the Union of Agricultural
     Work Committees, Qatar Charity, GVC – Italia, the Palestinian Hydrological Group for the
     Development of Water Resources and the Environment, the Ma’an Development Center, the Palestinian
     Institution for Standards and Metrology and other partners.



     Miscellaneous Activities

     Qatar Charity, as part of its Sponsorship and Social Welfare Program, carried out two activities during
     the year 2013 as follows:


    IFirst Activity: Sponsorship of an Orphan Student

     In response to the sponsor’s request, Qatar Charity transferred an amount of 13,000 riyals to an orphan
     who has reached the age of 18 and intends to enroll at the university, especially since the orphan
     sponsorship amount is not sufficient to cover the costs of university studies.


    ISecond Activity: Supply of Solar Powered School Bag

     Qatar Charity used an amount of 1,000 Qatari riyals that was surplus from one of its previous projects
     to supply a solar powered school bag to a number of orphan students sponsored by Qatar Charity and
     enrolled in the orphanage school of the Islamic Charitable Society in the city of Hebron in the southern
     West Bank.




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     Qatar Charity’s Partners in the West Bank

     Qatar Charity implements its projects through a number of partners at the local and Arab levels,
     including the following:

                 No.                                  Partner Name
                 1.      Islamic Development Bank – Jeddah
                 2.      Qatari Ministry of Foreign Affairs
                 3.      Islamic Dawa Organization / Doha
                 4.      The Ministry of Public Works and Housing
                 5.      The Ministry of Education and Higher Education
                 6.      Al-Quds Open University
                 7.      The Ministry of Agriculture and Fisheries
                 8.      The Ministry of Health
                 9.      Birzeit University
                 10.     Al Ubeidiya Municipality / Bethlehem Governorate
                 11.     Palestine Solar and Sustainable Energy Society
                 12.     The popular Palestinian “Save the Jordan Valley” Campaign
                 13.     Advisory Committee for Non-Governmental Organizations - Jenin
                 14.     United Nations Development Program / DEEP Project
                 15.     Palestinian Hydrology Group
                 16.     Union of Agricultural Work Committees
                 17.     Global Center for Sustainable Development GC-SD
                 18.     A “Student-to-Student Initiative” to support university students
                 19.     Arab Center for Agricultural Development (ACAD)
                 20.     ACTED




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 Authorized Signature:




  Crystal D   (Feb 1, 2022 12:05 CST)



 Name:           Crystal Dai

 Title:          Senior Project Manager

 Date:          February 1, 2022




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                                         ‫‪ki)_+L.JIj--moo‬‬
                                          ‫‪Qatar Charity‬‬



        ‫التقرير السنوي ‪2013‬‬


                 ‫مسؤول اإلتصال‪ :‬جوده مجل‬                                      ‫قطر اخلريية‬
          ‫الوظيفة‪:‬مدير مكتب فلسطني ابالانبة‬
            ‫اجلوال‪00970599210180:‬‬                           ‫مكتب فلسطني ‪ -‬الضفة الغربية‬
‫الربيد االلكرتوين‪jjamal@qcharity.org:‬‬
        ‫‪Case 1:20-cv-02578-BMC Document 59-25 Filed 02/15/22 Page 22 of 37 PageID #: 981‬‬




                                                       ‫جدول المحتويات‬                                                                   ‫‪I‬‬
                                                                                                                              ‫مقدمة ‪3‬‬
   ‫عن قطر الخيرية في فلسطين ________________________________ ________________________ ‪3‬‬
   ‫طاقم العمل – مكتب الضفة الغربية ________________________________ _____________________ ‪3‬‬
   ‫برامج ومشاريع قطر الخيرية في الضفة الغربية للعام ‪5 _____________________________________ 2013‬‬
‫والرعاية اإلجتماعية _________________________________________________________ ‪5‬‬
                                                                           ‫برنامج الكفاالت ّ‬
‫الرائد ________________________________________________________________________ ‪6‬‬
                                                                              ‫مشروع ّ‬
‫المدرة للدخل __________________________________________________________________ ‪8‬‬
                                                                            ‫ّ‬     ‫المشاريع‬

‫مشروع رقم ‪8 ________________________________________________________________________ 102538‬‬

‫مشروع رقم ‪8 ________________________________________________________________________ 104318‬‬

‫مشروع رقم ‪9 ________________________________________________________________________ 104560‬‬
‫المشاريع الموسمية ____________________________________________________________________ ‪9‬‬

‫مشاريع إفطار الصائم ________________________________________________________________________ ‪9‬‬

‫مشروع زكاة الفطر _________________________________________________________________________ ‪14‬‬

‫مشروع األضاحي __________________________________________________________________________ ‪14‬‬
‫مشروع توريد احتياجات طارئة لصالح المكفولين _________________________________________________ ‪15‬‬
‫مشاريع ممولة من اإلتحاد األوروبي _________________________________________________________ ‪16‬‬

  ‫المشروع األول‪ :‬نقل مربي الثروة الحيوانية من اإلعتماد على اآلخر لإلعتماد على الذات من خالل تنمية الثروة الحيوانية وزيادة حجم السوق‬
‫_____________________________________________________________________________________ ‪16‬‬

‫المشروع الثاني‪ :‬تطوير جودة زيت الزيتون __________________________________________________________ ‪16‬‬
‫أنشطة متفرقة _______________________________________________________________________ ‪16‬‬

‫النشاط األول‪ :‬كفالة طالبة يتيمة __________________________________________________________________ ‪16‬‬

‫النشاط الثاني‪ :‬توريد حقيبة طاقة شمسية تعليمية ________________________________________________________ ‪16‬‬

   ‫شركاء قطر الخيرية في الضفة الغربية ________________________________ _________________ ‪17‬‬




                                                              ‫صفحة ‪ 2‬من ‪17‬‬
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‫يتناول هذا التقرير أهم املشاريع واألنشطة اليت قامت هبا قطر اخلريية يف فلسطني من خالل مكتبها يف الضفة الغربية‪ ،‬حيث يسلط الضوء على القطاعات‬
                                                                                                                                          ‫‪I‬‬
                                                                                                                                         ‫مقدمة‬
                        ‫ّ‬
‫الصحة‪ ،‬واليت مت تنفيذها مشاريع ذات صلة بكل منها‪ ،‬فقط مت تنفيذ مشاريع‬
                                                                 ‫األساسية‪ ،‬وهي‪ :‬قطاع التمكني اإلقتصادي وقطاع اإلسكان وقطاع التعليم وقطاع ّ‬
                                                    ‫مدرة للدخل ومشاريع مومسية وغريها من املشاريع اليت سيأيت هذا التقرير على ذكرها‪.‬‬
                                                                                                                               ‫تعليمية ومشاريع ّ‬




                                                                                                      ‫عن قطر الخيرية في فلسطين‬                     ‫‪I‬‬
‫مت فتح فرع للجمعية يف فلسطني ابلعام ‪ 1996‬وتسجيلها لدى وزارة الداخلية الفلسطينية حتت رقم (‪ )5‬مبوجب قانون اجلمعيات واهليئات اإلجتماعية‬
‫العثماين الصادر ابلعام ‪ ،1909‬وعملت منذ ذلك الوقت وحىت العام ‪ 2007‬من خالل مكتيب اجلمعية امليدانيني يف مدينيت اخلليل وغزة‪ ،‬إىل أنه مت‬
‫إعادة افتتاح فرع اجلمعية يف فلسطني ابلعام ‪ 2009‬وتسجيلها لدى وزارة الداخلية الفلسطينية حتم رقم ‪ QR-0129-F‬وفقاً ألحكام قانون‬
                                                                                          ‫اجلمعيات واهليئات األهلية رقم (‪ )1‬لعام ‪.2000‬‬

               ‫وتتوافق قطر اخلريية – مكتب فلسطني أبهدافها ورسالتها ورؤيتها مع األهداف العامة للمقر الرئيس جلمعية قطر اخلريية ابلدوحة‪ ،‬حيث‪:‬‬
                     ‫‪ ‬رسالة اجلمعية‪ :‬دعم قدرات الفئات األكثر احتياجا لتحقيق الكرامة اإلنسانية والعدالة االجتماعية ابلتعاون مع الشركاء ‪.‬‬
    ‫‪ ‬رؤية اجلمعية‪ :‬منوذج املؤسسة اإلسالمية الرائدة واملتميزة اليت جتمع بني التأصيل واإلبداع واالحرتافية يف جمال التنمية واملساعدات اإلنسانية‪.‬‬
                                                     ‫‪ ‬القيم األساسية للجمعية‪ :‬اإلنسانية‪ ،‬عدم التمييز‪ ،‬احلياد‪ ،‬االستقالل‪ ،‬املهنية‪ ،‬التعاون‪.‬‬

‫ومن اجلدير ذكره؛ الفصل الفعلي ما بني مكتيب قطر اخلريية يف فلسطني‪ ،‬حيث مت الفصل اإلداري واملايل ما بني مكتب قطر اخلريية يف الضفة الغربية عن‬
                                                                                     ‫مكتب قطاع غزة وذلك مطلع شهر ابريل‪/‬نيسان ‪.2013‬‬




                                                                                              ‫طاقم العمل – مكتب الضفة الغربية‬                      ‫‪I‬‬
‫يضم مكتب قطر اخلريية يف الضفة الغربية فريق عمل متميز يتمتع خبربات حملية ودولية يف ع ّدة جماالت تساهم بتخطيط وتنفيذ املشاريع النوعية التطويرية‬
                                                                                             ‫ويتوزع العاملني يف املكتب ما بني‪:‬‬
                                                                                                                         ‫املستدامة واإلغاثية‪ّ ،‬‬

‫‪ ‬املوظفني األساسيني‪ :‬يضم الكادر األساسي لقطر اخلريية مثانية موظفني ما بني إداريني وموظفي برانمج الكفاالت‪ ،‬وحتتاج قطر اخلريية مللئ‬
                                      ‫شاغر موظف (منسق برانمج الكفاالت) وموظف (مدير برامج) وموظف (مدير املشاريع اإلنشائية)‪.‬‬



                                                                   ‫صفحة ‪ 3‬من ‪17‬‬
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‫‪ ‬املوظفني ضمن املشاريع‪ :‬قام مكتب قطر اخلريية يف الضفة الغربية ببناء شراكات مع عدد من املؤسسات الدولية واحمللية من أجل تنفيذ مشاريع‬
        ‫متكني إقتصادي يف فلسطني‪ ،‬ويف هذا اإلطار مت توظيف عدد من املوظفني والذين كانوا سابقاً متطوعني ومتدربني يف مكتب اجلمعية‪.‬‬
   ‫‪ ‬املتدربني‪ :‬تقوم قطر اخلريية بتقدمي التدريب الالزم خلرجيي اجلامعات من أجل كسر الفجوة ما بني احلياة األكادميية ومتطلبات سوق العمل‪.‬‬
‫‪ ‬املتطوعني‪ :‬تستقبل قطر اخلريية املتطوعني من طلبة اجلامعات أو اخلرجيني الذين مل حيصلوا على وظيفة‪ ،‬وحتاول من خالل ذلك احلفاظ على‬
                                                                                                         ‫التطوع يف فلسطني‪.‬‬
                                                                                                                       ‫ثقافة ّ‬

                     ‫طبيعة التعاقد‬                                  ‫املسمى الوظيفة‬                        ‫اسم املوظف‬                    ‫م‪.‬‬
                                         ‫موظف أساسي‬                       ‫املدير القطري ابإلانبة‬                        ‫جوده مجل‬        ‫‪.1‬‬
                                         ‫موظفة أساسية‬       ‫مسؤولة الشؤون اإلدارية واللوجيستية‬                         ‫جنوان عوده‬       ‫‪.2‬‬
                                         ‫موظفة أساسية‬                            ‫مساعدة إدارية‬                          ‫دعاء زمار‬       ‫‪.3‬‬
                                         ‫موظفة أساسية‬                           ‫موظفة خدمات‬                          ‫دولت عثمان‬         ‫‪.4‬‬
                                         ‫موظف أساسي‬                                     ‫حماسب‬                        ‫فادي مناصرة‬        ‫‪.5‬‬
                                         ‫موظف أساسي‬            ‫مشرف ميداين لربانمج الكفاالت‬                            ‫حممد رحيل‬        ‫‪.6‬‬
                                         ‫موظف أساسي‬            ‫مشرف ميداين لربانمج الكفاالت‬                        ‫وسام أبو خليل‬        ‫‪.7‬‬
                                         ‫موظفة أساسية‬           ‫مشرفة ميدانية لربانمج الكفاالت‬                      ‫أنعام أبو القرن‬     ‫‪.8‬‬
                                ‫موظفة على مشروع الرائد‬                          ‫ابحثة اجتماعية‬                           ‫رشا بياتنة‬     ‫‪.9‬‬
                                ‫موظفة على مشروع الرائد‬                          ‫ابحثة اجتماعية‬                       ‫‪ .10‬آمال عبد هللا‬
   ‫مستفيدة من مشروع الرائد ضمن برانمج توفري فرص عمل‬                             ‫ابحثة اجتماعية‬                          ‫‪ .11‬هيا محودة‬
   ‫مستفيدة من مشروع الرائد ضمن برانمج توفري فرص عمل‬                             ‫ابحثة اجتماعية‬                         ‫‪ .12‬آالء كرابلية‬
   ‫مستفيدة من مشروع الرائد ضمن برانمج توفري فرص عمل‬                             ‫ابحثة اجتماعية‬                           ‫‪ .13‬دعاء خنلة‬
                                                                   ‫متطوعة يف برانمج الكفاالت‬                           ‫‪ .14‬فريوز مسارة‬
                                                                   ‫متطوعة يف برانمج الكفاالت‬                          ‫‪ .15‬هنادي عبيد‬
                                                                         ‫متدربة يف جمال احملاسبة‬                    ‫‪ .16‬أروى أبو حلو‬




                                                               ‫صفحة ‪ 4‬من ‪17‬‬
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                                                                 ‫برامج ومشاريع قطر الخيرية في ال ض فة الغربية للعام ‪2013‬‬
                                                     ‫ن ّفذ مكتب قطر اخلريية يف الضفة الغربية عدداً من املشاريع واألنشطة خالل العام ‪ 2013‬وهي كما يلي‪:‬‬


                                                                                                                ‫برنامج الكفاالت وال ّر عاية اإلجتماعية‬

‫يوضح اجلدول التايل أعداد املكفولني لدى مكتب قطر اخلريية – الضفة الغربية تبعاً للفئة‪ ،‬وكذلك املستحقات اليت مت حتويلها لكل فئة على مدار العام‪.‬‬
                                                                                                                                         ‫ّ‬

                                                                       ‫التحويالت بعملة الرايل القطري‬
     ‫جم موع التحويالت‬                 ‫الربع الرابع‬                ‫الربع الثالث‬                  ‫الربع الثا ين‬               ‫الربع االول‬     ‫م‪ .‬فئة الكفاله عدد امل كفولني‬
 ‫ر‪.‬ق‪2,002,010.10 .‬‬              ‫ر‪.‬ق‪479,663.10 .‬‬              ‫ر‪.‬ق‪532,788.30 .‬‬              ‫ر‪.‬ق‪498,000.60 .‬‬              ‫ر‪.‬ق‪491,558.10 .‬‬          ‫‪627‬‬           ‫اسر‬     ‫‪1‬‬
 ‫ر‪.‬ق‪ 1,345,054.50 .‬ر‪.‬ق‪ 1,380,357.00 .‬ر‪.‬ق‪ 1,482,098.00 .‬ر‪.‬ق‪ 1,499,269.50 .‬ر‪.‬ق‪5,706,779.00 .‬‬                                                     ‫‪2946‬‬           ‫ايتام‬   ‫‪2‬‬
   ‫ر‪.‬ق‪634,860.90 .‬‬              ‫ر‪.‬ق‪162,562.50 .‬‬              ‫ر‪.‬ق‪158,963.40 .‬‬              ‫ر‪.‬ق‪161,122.50 .‬‬              ‫ر‪.‬ق‪152,212.50 .‬‬          ‫‪289‬‬           ‫اعاقه‬   ‫‪3‬‬
   ‫ر‪.‬ق‪182,925.90 .‬‬                ‫ر‪.‬ق‪47,264.40 .‬‬               ‫ر‪.‬ق‪43,465.50 .‬‬               ‫ر‪.‬ق‪45,535.50 .‬‬               ‫ر‪.‬ق‪46,660.50 .‬‬          ‫‪86‬‬          ‫طالب‬     ‫‪4‬‬
       ‫ر‪.‬ق‪7,380.00 .‬‬                ‫ر‪.‬ق‪2,520.00 .‬‬                ‫ر‪.‬ق‪1,620.00 .‬‬                ‫ر‪.‬ق‪1,620.00 .‬‬               ‫ر‪.‬ق‪1,620.00 .‬‬           ‫‪5‬‬           ‫دعاة‬    ‫‪5‬‬
 ‫احملول ة للمكفولني خالل العام ‪ 2013‬ابألرقام = ر‪.‬ق‪8,533,955.90 .‬‬
                                                           ‫إمج ايل امل بالغ ّ‬

‫امل بلغ ابلكلمات يساوي (مث انية ماليني ومخ سمائة وثالثة وثالثون ألفاً وتسعمائة ومخ سة ومخ سون رايالً وتسعون درمهاً فقط ال غري‪.‬‬



‫ومن اجلدير ذكره أن مكتب الضفة الغربية ما زال يعتمد حتويل املستحقات للمستفيدين من خالل البنك‪ ،‬حيث يتم إصدار بطاقة صراف آيل (بطاقة‬
‫سنابل) لكل مستفيد وذلك ضمن اتفاقية ما بني بنك فلسطني احملدود وقطر اخلريية يف فلسطني‪ ،‬حيث يقوم املستفيد إبستخدام البطاقة للحصول على‬
              ‫مستحقاته كل ‪ 3‬أشهر من خالل أجهزة الصراف اآليل املنتشرة يف أرجاء الضفة الغربية‪ ،‬وينتج عن هذه اآللية حتقيق لألهداف الرئيسية‪:‬‬
                                                                                                                                   ‫‪ ‬احلفاظ على كرامة املكفولني‬
                                                                                     ‫‪ ‬تسهيل حصول املكفولني على مستحقاهتم أبقل وقت وجهد وتكلفة‬

‫وقد أثبتت هذه اآللية جناعتها وكفائتها خالل الفرتة املنقضية من بني العامني ‪ 2011‬و ‪ ،2013‬كما أن هذه اآللية تعطي القدرة ملكتب الضفة الغربية‬
‫لزايدة عدد الكفاالت وهذا ما تتطلّع إليه إدارة مكتب قطر اخلريية يف الضفة الغربية‪ ،‬ال سيما أن املكتب كان الرائد إبتباع هذه اآللية وقد مت حتقيق‬
                                                                                                                                    ‫أهدافها‪.‬‬




                                                                                 ‫صفحة ‪ 5‬من ‪17‬‬
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                                                                                                                            ‫مشروع ال ّر ائد‬

‫أبرمت قطر اخلريية بشهر فرباير‪/‬شباط ‪ 2009‬اتفاقاً ما بينها وبني البنك اإلسالمي للتنمية وبرانمج األمم املتحدة اإلمنائي من أجل تنفيذ مشروع الرائد‬
‫للتمكني اإلقتصادي لألسر الفقرية يف فلسطني‪ ،‬والذي يساهم يف بناء القدرات اإلنتاجية لألسر الفقرية الفلسطينية مبا يؤهلها لإلعتماد على الذات‬
‫مستقبالً وحيفظ كرامتها‪ ،‬علماً أن املشروع يتم متويله من البنك اإلسالمي للتنمية‪ ،‬إىل جانب مسامهة من قطر اخلريية مببلغ يساوي ‪4,500,000.00‬‬
‫موزعة على ثالثة مراحل‪ .‬وقامت قطر اخلريية خالل العام ‪ 2013‬ابستكمال املرحلة الثالثة من تنفيذ املشروع بقيمة‬                      ‫دوالر أمريكي ّ‬
‫(‪ 1,500,000.00‬دوالر أمريكي) ‪ ،‬وتوجيه حنو القطاعات املشار إليها حسب اجلدول التايل حبيث يكون ما ال يقل عن ‪ %85‬من املستفيدين من‬
                                                                  ‫املشروع هم من مكفويل قطر اخلريية سواء األسر أو األيتام أو الطالب أو املعاقني‪.‬‬

‫وكمثال على أحد األنشطة املن ّفذة ضمن مشروع الرائد؛ فقد مت اختيار (جتمع بدوي املنطار) والذي يتبع ألراضي قرية السواحرة الشرقية يف مدينة‬
‫القدس‪ ،‬حيث هذا التجمع حماذي ملستوطنة اسرائيلية تسمى (كيدار) مت إقامتها من قبل اإلحتالل اإلسرائيلي على أراضي مدينة القدس حيث هذه‬
‫التجمع من سياسة التهجري اليومية اليت ميارسها اإلحتالل ضدهم والذي يعترب وجودهم شوكة‬ ‫األراضي متتد حىت تصل البحر امليت‪ ،‬ويعاين سكان هذا ّ‬
‫يف احللق وإعاقة للتوسع اإلستيطاين اإلسرائيلي‪ ،‬فكان من الضروري حتسني حياة األسر يف هذا التجمع من أجل تعزيز صمودها على األرض‪ ،‬فقد مت‬
‫تزويد األسر ب ـ ـ ـ ‪ 65‬وحدة من اخلالاي الشمسية اليت يتم استخدامها إلستقبال الطاقة الشمسية ومن مثّ حتويلها إىل طاقة كهرابئية يتم استخدامها لتشغيل‬
                    ‫ثالجة صغرية أو تلفزيون صغري‪ ،‬علماً أن هذا املشروع يف هذا التجمع يستفيد منه ما بني ‪ 350 – 250‬فرد من سكان التجمع‪.‬‬




                                                                  ‫صفحة ‪ 6‬من ‪17‬‬
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                                                                   ‫املرحلة الثالثة من تنفيذ مشروع الرائد‬
                            ‫مالحظات‬                                            ‫املؤسسة املنفذة‬                 ‫املبلغ املقرتح ‪$‬‬    ‫املناطق اجلغرافية‬               ‫القطاع‬         ‫م‪.‬‬
                       ‫‪ .1‬توفري الرعاية الصحية األولية لألسر الفقرية‬
                                                                                                                                    ‫كافة مناطق الضفة‬
                           ‫‪ .2‬دفع بدل اإلشرتاك يف التأمني الصحي‬                ‫إحتاد جلان العمل الصحي‬          ‫‪500,000.00$‬‬                                         ‫‪ 1‬القطاع الصحي‬
                                                                                                                                               ‫الغربية‬
                         ‫‪ .3‬دفع تكاليف العمليات اجلراحية الطارئة‬
                                             ‫‪ .1‬ترميم البيوت القدمية‬
                                                                                                                                  ‫حمافظيت اخلليل وبيت‬        ‫قطاع االسكان وترميم‬
                                  ‫‪ .2‬إضافة غرف ومطابخ ومحامات‬                    ‫اجلمعية اخلريية اإلسالمية‬     ‫‪500,000.00$‬‬                                                         ‫‪2‬‬
                                                                                                                                         ‫حلم‬                               ‫املنازل‬
                             ‫‪ .3‬توفري بعض األاثث الالزم والضروري‬
‫تبين طلبة اجلامعات ومساندهتم يف أتمني أقساطهم اجلامعية‪ ،‬ويف املقابل‬                    ‫‪YMCA‬‬
                                                                                                                                    ‫كافة مناطق الضفة‬
  ‫يقوم الطلبة اجلامعني املستفيدين من تلك األقساط بتعليم جمموعة من‬                                              ‫‪150,000.00$‬‬                                           ‫‪ 3‬قطاع التعليم‬
                                                                    ‫(إبدارة مبادرة من طالب إىل طالب)‬                                           ‫الغربية‬
        ‫الطلبة الفقراء يف املدارس هبدف رفع مستوى حتصليهم الدراسي‪.‬‬
         ‫مدرة للدخل زراعية "ثروة حيوانية ونباتية"‬
                                              ‫‪ .1‬توفري مشاريع ّ‬
                                                   ‫‪ .2‬مشاريع جتارية‬
                                                ‫‪ .3‬مشاريع خدماتية‬
                                                                                              ‫‪YMCA‬‬             ‫‪250,000.00$‬‬
  ‫‪ .4‬حسب القطاعات اليت مت التوصية فيها بعد الدراسة اليت قام هبا‬
                                                                                                                                                               ‫قطاع التمكني‬
                                                   ‫مركز التعليم املستمر‬                                                           ‫كافة مناطق الضفة‬
                                                                                                                                                            ‫االقتصادي واملشاريع‬   ‫‪4‬‬
           ‫* يتم ختصيص مبلغ ‪ 650‬دوالر ملتابعة البحث اإلجتماعي‬                                                                           ‫الغربية‬
                                                                                                                                                                ‫املدرة للدخل‬
  ‫* يتم ختصيص مبلغ ‪ 500‬دوالر شهري ملوظف متابعة املشاريع املدة‬
                                                       ‫لدخل‬                   ‫املركز العريب للتطوير الزراعي‬
                                                                                                               ‫‪300,000.00$‬‬
 ‫* يتم ختصيص مبلغ ‪ 645‬دوالر شهري ملوظف جزئي ملتابعة املشاريع‬                                  ‫‪ACAD‬‬
                                                 ‫املدرة للدخل‬
                                                       ‫ابلكلمات‪ :‬مليون وسبعمائة ألف دوالر فقط ال غري‪.‬‬         ‫‪1,700,000.00$‬‬                              ‫اجملموع‬
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                                                                                                                ‫المشاريع المد ّر ة للدخل‬
‫مدرة للدخل وهي املشاريع اليت مت إرساهلا عرب الربوابة اإللكرتونية لقطر اخلريية‪ ،‬واملشار إليه‬
                                                                                        ‫قام مكتب قطر اخلريية يف الضفة الغربية بتنفيذ ‪ 3‬مشاريع ّ‬
                                                                                                                                          ‫أدانه‪:‬‬

                                                                                                                     ‫مشروع رقم ‪102538‬‬
                                                                                       ‫مت من خالل هذا املشروع منح املستفيدة (متام سعيد ابراهيم‬
                      ‫‪11111:1! i‬‬
                                                        ‫‪mon--77°""r‬‬
                                                                                       ‫شوشي) رأسني من املاعز مببلغ املشروع املساوي‬
                            ‫?‪4+.1,JW‬‬         ‫‪i‬‬
                                                            ‫‪vole‬‬
                                                         ‫'‪jr , AO‬‬                      ‫(‪ 3,500.00‬رايل قطري)‪ .‬يذكر أن املستفيدة (متام)‬
                                                          ‫‪iii‬‬   ‫‪.$004;i1‬‬

                                                                                       ‫مكفولة لدى قطر اخلريية ضمن كفالة أسر رقم‬
                            ‫‪4 4.‬‬   ‫`'‪ZIAt:‬‬
                                                                      ‫‪- qn‬‬
                                                                                       ‫مكونة من ‪ 7‬أفراد‬
                                                                                                     ‫‪ F/102/1341‬وهي أرملة تعيل أسرة ّ‬
                                                                                                                     ‫من بينها ابنتها األرملة أيضاً‪.‬‬
                                                                                       ‫وقريباً ستبدأ أسرة (متام) اإلستفادة من حليب املاعز ال‬
                                                                                       ‫سيما بعد أن أجنبت إحدى املاعز صغريها حديثاً‪ ،‬واألسرة‬
                                                                                       ‫إبنتظار املاعز الثانية إلجناب صغريها‪ ،‬حيث ستقوم‬
                     ‫‪I‬‬                                                                 ‫املستفيدة برتبية الصغار ويف الوقت ذاته اإلستفادة من‬
                                                                                       ‫حليب األمهات إلنتاج مشتقات احلليب وبيعها واإلستفادة‬
                                                                                                ‫من العائد املادي لتحسني الوضع املعيشي ألسرهتا‪.‬‬


                                                                                                                     ‫مشروع رقم ‪104318‬‬
‫مت من خالل هذا املشروع منح املستفيد( عرسان مشاقي) بقرة حلوب‬
‫مببلغ املشروع املساوي (‪ 10,000.00‬رايل قطري)‪ .‬وقد قام املستفيد‬
‫بتلقيح البقرة من أجل االستفادة من املولود وحتفيزها على در كمية أكرب‬
                                        ‫من احلليب لتعم الفائدة أكثر‪.‬‬




                                                                             ‫‪,s 004‬‬




                                                                                                                ‫‪IN‬‬
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                                                                                                                 ‫مشروع رقم ‪104560‬‬
                                                                                     ‫مت من خالل هذا املشروع منح املستفيدة مبلغ املشروع‬
                                                                                     ‫واملساوي (‪ 10,000.00‬رايل قطري) كمسامهة يف مثن‬
                                                                                     ‫بقرة حلوب قامت بشرائها املستفيدة (هنلة داود حممد‬
               ‫‪Amu‬‬
                        ‫•‬
                                                                                                   ‫عثمان) واملكفولة لدى قطر اخلريية بكفالة أسرة‪.‬‬
                                                                                     ‫حالبة إلستخدامها حللب البقرة‬  ‫كما قامت املستفيدة بشراء ّ‬
                             ‫‪• r Charity‬‬
                                                                                                            ‫للحصول على كمية أفضل من احلليب‪.‬‬
                                                                                     ‫كونة‬
                                                                                       ‫من اجلدير ذكره؛ أن السيدة هنلة هي املعيلة ألسرهتا امل ّ‬
                                                                                     ‫من ‪ 5‬أفراد‪ ،‬وتقوم السيدة هنلة حبلب البقرة يومياً إلنتاج ما‬
                                                                                     ‫يقارب ‪ 30‬لرت من حليب البقر الذي تقوم ببيعه أو حتويله‬
                                                                                                              ‫إلحدى مشتقات احلليب مثل اجلنب‪.‬‬

‫كما نود اإلشارة أن البقرة أجنبت حديثاً وقامت املستفيدة ببيع العجلة واإلستفادة من املبلغ لشراء احتياجات للبقرة األم من أعالف وقش‪ ،‬وبدأت‬
                                                       ‫ابإلستفادة من احلليب من خالل بيعه أحياانً أو استخدامه لصناعة اجلنب أحياانً أخرى‪.‬‬


                                                                                                                   ‫المشاريع الموسمية‬


                                                                                                                     ‫م شاريع إفطار الصائم‬
         ‫تقوم قطر اخلريية يف كل عام وقبل بداية شهر رمضان إبطالق عدد من املشاريع اإلنسانية واليت تليب اإلحتياجات اآلنية لألسر الفقرية واحملتاجة‪.‬‬
‫ويف العام ‪ 2013‬مت املوافقة على مشروع إفطار الصائم فقط‪ ،‬حيث يهدف املشروع للمسامهة بتعزيز مبادئ التكافل األسري واإلجتماعي بني كافة‬
‫شرائح اجملتمع من خالل وجبات اإلفطار الساخنة اليت يتم توزيعها على األسر يف بيوهتا‪ ،‬أو املوائد الرمضانية اليت يتم إقامتها‪ ،‬حبيث اليت نساهم إبفطار‬
‫أكرب عدد من الصائمني يف املدن واملواقع املختلفة‪ ،‬ابإلضافة لتعزيز القدرة اإلقتصادية للشركات وأيضاً لألسر املنتجة‪ .‬ويف العام ‪ 2013‬كان للمكفولني‬
‫من قطر اخلريية ما نسبته ‪ %44.07‬من إمجايل املستفيدين‪ ،‬وكان ‪ %55.93‬من املستفيدين غري املكفولني لدى قطر اخلريية مجيعهم موزعني على‬
‫مدن الضفة الغربية والقدس ومنطق أل ـ ‪ 1948‬حيث عدد املستفيدين اإلمجايل بلغ ‪ 24,889‬فرد‪ ،‬علماً أن موازنة املشروع كانت ‪554,759.00‬‬
                                                                                                                                    ‫رايل قطري‪.‬‬

‫رواد هذه االماكن‪ ،‬أي حسب نوع املستفيدين يف كل مكان‪ ،‬وفيما يلي نستعرض أمساء األماكن وطبيعة املستفيدين الوافدين‬
                                                                                                           ‫لقد مت إختيار أماكن التنفيذ حسب ّ‬
                                                                                                                                ‫لكل مكان‪:‬‬




                                                                 ‫صفحة ‪ 9‬من ‪17‬‬
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                                                                                                                          ‫املسجد األقصى املبارك‬
                                                                                     ‫يف شهر رمضان من العام ‪ 2013‬مت توزيع ‪ 2580‬وجبة إفطار‬
                                                                                               ‫داخل ساحات املسجد األقصى وذلك على مدار ‪ 3‬أايم‪.‬‬




                                                                                                                           ‫املستشفيات يف مدينة القدس‬
                                                                                     ‫مستشفى (أوغستا فيكتوراي ‪ -‬املطلّع) و(مستشفى هداسا اإلسرائيلي‬
                                                                                     ‫والواقع يف قرية عني كارم إحدى القرى املقدسية املهجرة يف عام النكبة‬
                                                                                     ‫‪ )1948‬و(مستشفى مجعية املقاصد اخلريية اإلسالمية) والواقعة‬
                                                                                     ‫مجيعها يف مدينة القدس؛ تستقبل مجيعها املرضى من مجيع أحناء‬
                                                                                     ‫فلسطني‪ ،‬ويرافق املرضى املضطرين للمبيت أفراد من عائلتهم ال‬
                                                                                     ‫يتمكنون من ترك مريضهم والعودة ملنازهلم ويرتتب على مالزمة املرافق‬
                                                                                     ‫للمريض عبء مايل ال يستطيع املرافق حتمله‪ ،‬يتضمن ذلك احلاجة‬
                                                                                     ‫ملالبس ومصاريف اتصاالت ووجبات غذائية يومياً ومصروف‬
                                                                                                                  ‫شخصي وغريه العديد من اإلحتياجات‪.‬‬
                                                                                     ‫وقد قامت قطر اخلريية بتأمني وجبات غذائية للمرافقني يف‬
                                                                                        ‫املستشفيات خالل شهر رمضان املبارك بواقع ‪ 1550‬وجبة افطار‪.‬‬


                                                                                                                         ‫البلدة القدمية يف مدينة القدس‬
‫يعاين سكان البلدة القدمية يف مدينة القدس من شىت أنواع التهجري اليومي من طرف اإلحتالل اإلسرائيلي‪ ،‬ابإلضافة إىل اإلعتداءات املستمرة على السكان من‬
‫املستوطنني اليهود الذين يسكنون البلدة القدمية ويصارعون الفلسطينيني يومياً إلجبارهم على ترك بيوهتم كي يتمنكوا من اإلستيالء عليها‪ .‬عدا عن الوضع‬
‫اإلقتصادي املرتدي للفلسطينيني الساكنني يف البلدة القدمية خاصة وفلسطني عامة‪ ،‬والذي ينعكس على حياهتم اإلجتماعية داخل األسرة‪ ،‬فهناك أسر تضم‬
 ‫مطلقات وأيتام وأسرى‪ ،‬مما يزيد الوضع اإلقتصادي سوءاً يوماً بعد يوم حيث ال تتمكن العائالت من توفري اإلحتياجات األساسية ألفرادها مبا فيها غذاؤها اليومي‪.‬‬
                                     ‫وقد مت ّكنت قطر اخلريية من إيصال عدد ‪ 2000‬وجبة افطار للسكان يف البلدة القدمية خالل شهر رمضان من العام ‪.2013‬‬

                                                                                                           ‫خميم شعفاط لالجئني الفلسطينيني – القدس‬
‫يقع خميم شعفاط مبحاذاة مدينة القدس ابملنطقة احملاذية جلدار الفصل العنصري‪ ،‬ويعاين سكان املخيم من العراقيل اليت يضعها اإلحتالل اإلسرائيلي ومن الوضع‬
                                        ‫اإلقتصادي السيء نتيجة ارتفاع مع ّدل البطالة بعد بناء اجلدار الذي حرم العديد من الشباب من الوصول إىل أعماهلم‪.‬‬
               ‫لذا؛ كان ال بد لقطر اخلريية من التدخل وتقدمي وجبات إفطار للصائمني يف شهر رمضان املبارك‪ ،‬لسد حاجة األسرة ليوم من أايم الشهر الفضيل‪.‬‬

                                                                    ‫صفحة ‪ 10‬من ‪17‬‬
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                                                                                                                           ‫ابب حطة – أحد أبواب سور القدس‬
                                                                                             ‫خلصوصية هذا الباب وكونه أحد األبواب الرئيسة لولوج املصلني إىل‬
                                                                                             ‫املسجد االقصى؛ فقد ارأتت قطر اخلريية أن تقوم ابلعام ‪2013‬‬
                                                                                             ‫خبطوة جريئة لتوزيع وجبات اإلفطار على املصلني أثناء مرورهم من‬
         ‫‪S‬‬
                                                              ‫‪slyly‬‬
                                                                                             ‫هذا الباب‪ ،‬وكان ذلك ابلتعاون مع عائلة آل الرازم املقدسية واليت‬
                                                                  ‫‪J J3Juii‬‬
                                                                                             ‫تسكن ابلقرب من الباب‪ ،‬حيث يقوم أفراد أسرهتا وابلتعاون مع‬
                                                              ‫•‬                              ‫متطوعني آخرين بتوزيع الوجبات على الصائمني الوافدين للمسجد‬
                                                                                   ‫‪ti‬‬
                                                                                                                           ‫حسب جدول زمين أع ّدته قطر اخلريية‪.‬‬




                                                                                            ‫مسجد ايفا الكبري يف مدينة ايفا إحدى املدن احملتلة عام ‪1948‬‬
     ‫رواد هذا املسجد هم سكان املدينة‪ ،‬والسيّاح املسلمني الوافدين إليها‪ ،‬واألفارقة املسلمني الذي هربوا من السودان واريرتاي وجلؤوا سياسياً إىل فلسطني‪ ،‬وأصبحوا‬
                                                                                                                                                          ‫ّ‬
   ‫وتصرف اإلحتالل اإلسرائيلي الذي ال ينصفهم‪ ،‬وإمنا يقوم إبعتقاهلم أو إعادهتم إىل بالدهم ضمن صفقات لتبادل األسلحة؛ مما يضطر هبؤالء األفارقة‬    ‫حتت رمحة ّ‬
‫إىل اهلرب الدائم‪ ،‬األمر الذي ينعكس على عدم اإلستقرار‪ ،‬فيجدون ابملساجد أماكن لراحتهم املؤقتة‪ ،‬ال سيما يف شهر رمضان الكرمي‪ .‬ولذلك تقوم قطر اخلريية يف‬
   ‫رواده وخاصة األفارقة املسلمني الذين انقطع هبم السبل‪ ،‬فال بالدهم تقبلهم وال اإلحتالل اإلسرائيلي‬‫كل عام بتوريد عدد من الوجبات للمسجد من أجل إطعام ّ‬
                                                                                         ‫يسمح هلم ابلتواجد يف فلسطني وإعطائهم حقوقهم كالجئني سياسيني‪.‬‬


                                                                                                                      ‫احلرم اإلبراهيمي يف مدينة اخلليل‬
‫الرمحن هم من سكان البلدة القدمية واليت يقع فيها احلرم ومت السيطرة عليها من اإلحتالل اإلسرائيلي منذ‬
                                                                                               ‫معظم املصلني يف احلرم اإلبراهيمي الشريف يف مدينة خليل ّ‬
                 ‫مذحبة احلرم اإلبراهيمي‪ ،‬لذلك قامت قطر اخلريية بتقدمي وجبات للمصلني املعتكفني ابملسجد تعزيزاً لصمودهم داخل املقدسات الدينية حلمايتها‪.‬‬


                                                                                                                                           ‫التجمعات البدوية‬
                                                                                             ‫يعاين البدو الفلسطينيون ال سيما يف الصحاري الشرقية للضفة الغربية‬
                                                                                             ‫من العديد من املشاكل وكان لقطر اخلريية مسامهتها بتقدمي عدد من‬
                                                                                                                                ‫الوجبات يف ‪ 3‬جتمعات بدوية‪.‬‬




                                                ‫‪Workiforum,‬‬




                                                                             ‫صفحة ‪ 11‬من ‪17‬‬
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                                                                                                                                     ‫للث‬                   ‫املركز الدويل‬
                                                                                                              ‫قافة واإلعالم الفلسطيين‬
                                                                                        ‫يف قرية العيزرية قضاء‬                                                    ‫القدس‬
                                                                                                                                                                         ‫ت‬
                                                                                                            ‫من‬    ‫ا‬ ‫الق‬ ‫نط‬ ‫وإ‬   ‫ن‪،‬‬   ‫قرآ‬ ‫ال‬   ‫ضم اجلمعية مركزاً لتحفيظ‬
                                                                                         ‫إميان قطر اخلريية‬        ‫ً‬                                                     ‫أب‬
                                                                                                           ‫ان‬ ‫إمي‬ ‫يز‬‫ز‬ ‫تع‬ ‫مهية‬  ‫و‬
                                                                                                                               ‫أ‬    ‫ظ‪،‬‬   ‫في‬ ‫مهية وجود هذه املراكز للتح‬
                                                                                         ‫املسلمني وتقوية‬
                                                                                                            ‫ف‬   ‫م‪،‬‬ ‫يه‬ ‫لد‬ ‫ين‬  ‫دي‬  ‫ال‬   ‫ع‬ ‫و‬
                                                                                                                                       ‫از‬  ‫ال‬ ‫اء‬ ‫روابطهم ابهلل عزوجل وإحي‬
                  ‫‪r‬‬
                                                                                          ‫ستقوم قطر اخلريية‬                                                              ‫بع‬
                                                                                                            ‫ظة‬   ‫حف‬ ‫و‬    ‫ملر‬
                                                                                                                        ‫كز‬   ‫ا‬  ‫اد‬ ‫رو‬   ‫من‬    ‫قد إفطار مجاعي للطالب‬
                                                                                           ‫القرآن‪ ،‬تشجيعاً‬                          ‫ّ‬                                    ‫هلم‬
                                                                                                                                               ‫كأفراد‪ ،‬ودعماً جلميعتهم‪.‬‬




                       ‫‪A‬‬
                                                                                                                                                ‫مجعية أصدقاء املري‬
                                                                                                                  ‫ض‪/‬مركز أبو راي للتأهيل‬
                                                                                                             ‫ا‬ ‫يف‬ ‫ني‬ ‫يم‬ ‫ملق‬‫ا‬ ‫ى‬ ‫رض‬  ‫امل‬ ‫الء‬‫دور قطر اخلريية لدعم هؤ‬
                                                                                                   ‫ملركز وكذل‬
                                                 ‫ين‬ ‫ضا‬  ‫رم‬ ‫ار‬‫فط‬ ‫إ‬ ‫هم‬  ‫ار‬
                                                                     ‫كت‬  ‫ش‬ ‫ك ذويهم املرافقني هلم وم‬                          ‫ج‬   ‫ر‬
                                                                                                                               ‫انم‬  ‫ب‬  ‫ان‬  ‫ابملراكز التأهيلية‪ ،‬ال سيما‬
                        ‫الله عالقة ق‬‫خ‬  ‫من‬  ‫زز‬‫تع‬‫ت‬                                                     ‫ى املكت‬‫لد‬  ‫ت‬  ‫اال‬ ‫كف‬ ‫ال‬
‫طر اخلريية كمنظمة دولية‬                           ‫فئا‬‫ال‬  ‫هم‬‫أ‬  ‫من‬  ‫هم‬‫و‬  ‫ني‬ ‫عاق‬‫ب يضم مئات من فئة امل‬                                                         ‫مشاريعها‪.‬‬
                          ‫اليت تسته‬ ‫وز‬‫الع‬ ‫ت‬ ‫ذا‬  ‫ت‬
‫دفها قطر اخلريية يف معظم‬
                                                                                                                                                                         ‫اجلمعية ال‬
                                                                                                                                       ‫فلسطينية للرعاية والتنمية‬
                                                                                                                        ‫و‬   ‫اية‬ ‫رع‬ ‫و‬    ‫مة‬  ‫خد‬   ‫ى‬  ‫عل‬    ‫هي مجعية خريية تعمل‬
                                                                                                 ‫يل املعاقني يف خميم‬ ‫أته‬
                                                                                                                       ‫ما‬ ‫خمي‬ ‫حد‬    ‫أ‬   ‫هو‬  ‫و‬‫‪-‬‬   ‫ني‬ ‫يني‬ ‫األمعري لالجئني الفلسط‬
                                                                                                 ‫ت اللجوء الواقعة يف‬
                                                                                                                                                          ‫مدينة رام هللا‪ ،-‬كما خت‬
                                   ‫‪Alball :Mani‬‬

                                    ‫‪P 2013 41 1434 plail‬‬

                                                                                                                        ‫من‬   ‫ني‬  ‫عاق‬ ‫امل‬   ‫عية‬‫جلم‬ ‫ا‬  ‫دم‬
                                                                                                  ‫حميط املخيم‪ ،‬ويبلغ‬
                                     ‫‪fizqa11-‬‬

                                                                                                                        ‫من‬   ‫ق‬  ‫عا‬ ‫م‬   ‫‪2‬‬   ‫‪5‬‬ ‫‪0‬‬  ‫عيه‬ ‫جلم‬   ‫عدد املعاقني املسجلني اب‬
                                                                                                  ‫خمتلف أنواع اإلعاقة‬
                                                                                                                                                           ‫وخمتلف األعمار‪ .‬وقد ا‬
                                        ‫‪flIMEMND‬‬


                                                                                                                           ‫أن‬  ‫ية‬ ‫ري‬ ‫خل‬  ‫ا‬  ‫طر‬ ‫ق‬  ‫ت‬   ‫رأت‬
                                                                                                   ‫تقيم إفطاراً للمعاقني‬
                                         ‫‪ar Cho‬‬
                           ‫‪111.1‬‬
                                                                                                                           ‫ض‬   ‫فئة‬  ‫ال‬    ‫ذه‬ ‫ه‬  ‫ي‬ ‫رع‬ ‫ت‬   ‫ية‬ ‫وذويهم؛ كون قطر اخلري‬
                                                                                                   ‫من برانمج الكفاالت‬                                             ‫اخلاص هبا‪ ،‬وتعزيزا‬
                                                                                                                              ‫تق‬    ‫يت‬  ‫ال‬  ‫ت‬  ‫سا‬  ‫ؤس‬  ‫امل‬  ‫ور‬ ‫لد‬ ‫ً‬
                                                                                                    ‫وم على تقدمي اخلدمات‬                                                  ‫لفئة املعاقني‪.‬‬
                                         ‫‪•1,‬‬




                                                     ‫‪1‬‬




                                                                                     ‫صفحة ‪ 12‬من ‪17‬‬
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                                                                                                                                       ‫جامعة بريزيت‬
                                                                                    ‫تضم جامعة بريزيت طالابً من شىت مدن الضفة الغربية وقطاع غزة‪،‬‬
                                                                                    ‫ونظراً للصعوابت اليت يواجهها الطلبة للتنقل ما بني اجلامعة واملنزل‬
                         ‫)‪r° .‬‬                                                      ‫نتيجة احلواجز العسكرية اإلسرائيلية اليت يقيمها اإلحتالل على‬
                                                    ‫‪p‬‬                               ‫مداخل املدن وما بني الطرقات‪ ،‬فهم يضطروا للسكن ابلقرب من‬
                                            ‫‪all‬‬

                                                                                    ‫اجلامعة يف منازل خاصة خمصصة للطالب‪ ،‬مما يزيد األعباء املالية على‬
                                                                                    ‫كاهلهم‪ ،‬وعدم وجود مدخرات إضافية لديهم لتأمني احتياجاهتم‬
                                                                                    ‫األساسية أثناء وجودهم بعيداً عن عائالهتم‪ .‬لذا ارأتت قطر اخلريية‬
                                                                                    ‫إقامة إفطار للطلبة املغرتبني‪ ،‬ال سيما أن قطر اخلريية ترعلى الفئة‬
                                                                  ‫•‬
                                                                                                                   ‫احملتاجة منهم ضمن برانمج الكفاالت‪.‬‬


                                                                                                                                 ‫مجعية التضامن اخلريية‬
  ‫تقوم قطر اخلريية دائما ابحلفاظ على عالقات جيدة مع شركائها‪ ،‬وخاصة اجلمعيات احمللية‪ ،‬حيث يتوفر هلذه اجلمعيات القدرة الواسعة على تنفيذ املشاريع يف‬
‫امليدان والوصول إىل املستفيدين‪ ،‬خاصة أهنا تعمل خدمة للمستفيدين يف نفس مدهنا‪ .‬وابلتايل كان ال بد من دعم مجعية التضامن واليت تعترب شريك اسرتاتيجي‪،‬‬
                                          ‫وتزويدهم بعدد من الوجبات الرمضانية ليقوموا بدورهم بتوزيعها لألسر املستورة من غري املكفولني لدى قطر اخلريية‪.‬‬


                                                                                       ‫احملافظات واألماكن املستهدفة واليت تضم مكفويل قطر اخلريية‬
                                                        ‫موضح أدانه‪:‬‬
                                                                ‫استهدفت قطر اخلريية مكفويل اجلمعية يف عدد من احملافظات يف الضفة الغربية كما هو ّ‬
                                                                        ‫‪ )1‬حمافظة اخلليل‪ :‬ومت التنفيذ من خالل املراكز واجلمعيات الشريكة‪ ،‬وهي‪:‬‬
                                                                                                                    ‫‪ ‬مركز الرجاء للرتبية اخلاصة‬
                                                                                                                      ‫‪ ‬مجعية اإلحسان اخلريية‬
                                                                                                                     ‫‪ ‬اندي اآلفاق الفلسطيين‬
                                                                                                                       ‫‪ ‬جلنة زكاة اخلليل املركزية‬
                                                                             ‫‪ )2‬حمافظة رام هللا والبريه‪ :‬ومت التنفيذ ابلتعاون مع مجعية إنعاش األسرة‬
                                                                            ‫‪ )3‬حمافظة بيت حلم‪ :‬ومت التنفيذ ابلتعاون مع جلنة زكاة بيت حلم املركزية‬
                                                                                             ‫‪ )4‬حمافظة انبلس‪ :‬ومت التنفيذ مباشرة من قطر اخلريية‬
                                                                           ‫‪ )5‬حمافظة طوابس‪ :‬ومت التنفيذ ابلتعاون مع اللّجنة الشعبية لقرية الفارعة‬




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                                                                                                                              ‫مشروع زكاة الفطر‬

‫يهدف هذا املشروع للعمل على تلبية الوزاع الديين والذي حيث على إخراج زكاة صدقة الفطر‪ ،‬ابإلضافة إىل مساعدة األسر الفقرية لتوفري متطلباهتا الضرورية؛ حيث‬
‫تكلّلت مشاريع رمضان يف صرف زكاة الفطر لعدد (‪ 690‬أسرة) مبعدل (‪ 4,140‬فرد) ليصل املبلغ الكلي ملشروع زكاة الفطر إىل (‪ 176,260.00‬رايل‬
‫قطري) ما يعادل (‪ 48,290.00‬دوالر أمريكي) بواقع (‪ 70‬دوالر) لكل أسرة‪ ،‬علماً أن ‪ %50‬من األسر هم من املكفولني لدى قطر اخلريية‪ ،‬و‪ %50‬آخرين‬
                                                                                                            ‫من األسر اليت مت دراسة حالتها وإبنتظار الكفالة‪.‬‬




                                                                                                                                 ‫مشروع ا ألضاحي‬
‫حرصاً من قطر اخلريية على مد يد العون وتقدمي الدعم واملساندة للشعب الفلسطيين من خالل إقامة املشاريع التنموية واإلغاثية واإلنسانية وغريها من املشاريع اليت‬
                                                                                ‫تساهم يف ختفيف املعاانة عن الفقراء واحملتاجني وذوي االحتياجات اخلاصة كما‬
                                                                                ‫تساهم يف خلق جو أفضل لتنمية وبناء الفرد واجملتمع‪ ،‬ومنها مشروع األضاحي‬
                                                                                ‫الذي يشتمل على تقدمي حلوم االضاحي يف مجيع احملافظات الفلسطينية من أجل‬
                                                                                ‫الوصول إىل أكرب قدر ممكن من احملتاجني ومنهم مكفويل قطر اخلريية وحتقيق‬
                                                                                                                                   ‫اهلدف املراد من املشروع‪.‬‬
                                                                                ‫وبلغ موازنة املشروع ‪ 280,240.00‬رايل قطري‪ ،‬بواقع ‪ 16,980‬مستفيد‬
                                                                                       ‫وبنسب توزيع على حمافظات الضفة الغربية كما هو موضح ابلرسم اجملاور‪.‬‬




‫ومن أبرز ما مت ابملشروع هو قدرة قطر اخلريية على العمل داخل أسوار البلدة‬
‫القدمية ملدينة القدس بشكل عام‪ ،‬حيث قامت قطر اخلريية بتوزيع احلصص من‬
‫حلوم األضاحي على العائالت املستورة واليت تسكن البلدة القدمية يف القدس‬
‫واختارت قطر اخلريية سوق اللّحامني داخل أسوار البلدة القدمية كنقطة توزيع‬
‫للمستفيدين‪ ،‬فعملت من خالل هذا اإلجراء على الوصول إىل املستفيدين يف‬
‫نفس البلدة‪ ،‬وتفعيل احلركة التجارية داخل القدس يف أايم العيد والذي انعكس‬
‫إجياابً على مسعة واسم قطر اخلريية كإحدى املؤسسات الرائدة يف العمل داخل‬
                                 ‫مدينة القدس عامةً واملسجد األقصى خاصة‪.‬‬
                                                                              ‫‪I‬‬




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                                                                              ‫مشروع توريد احتياجات طارئة لصالح المكفولين‬

‫بناء على تعليمات من املكتب الرئيس‪ ،‬فقد مت اعتماد مبلغ ‪ 41,221.00‬رايل قطري من أجل أتمني احتياجات طارئة للمكفولني ممن يعيشون ظروفاً طارئة‬
‫وتستحق التدخل السريع وخصوصاً املكفولني الذين يعانون من املرض أو األسر املكفولة اليت تتعرض إلختالالت طارئة تستوجب التدخل العاجل لتغطية‬
                                                                                                                                ‫اإلحتياجات امللحة هلا‪.‬‬
‫تنوعت هذه‬ ‫وبناء عليه قام فريق العمل يف املكتب إبعداد قائمة من املكفولني الذين تنطبق عليهم املواصفات املبيّنة أعاله‪ ،‬ومت حتديد اإلحتياج لكل منهم‪ ،‬حيث ّ‬
                                                                                                                          ‫اإلحتياجات لتكون كما يلي‪:‬‬
‫‪ ‬كراسي متحركة عادية وكهرابئية‪ ،‬لكن ما مت شراؤه هو الكرسي املتحرك العادي فقط‪ ،‬ذلك إلرتفاع مثن الكرسي الكهرابئي وعدم التمكن من شراؤه‬
                            ‫ضمن موازنة املشروع‪ ،‬وقد مت شراء الكراسي ملن يعانون مشاكل حركية نتيجة ضمور العضالت وغريها من انواع اإلعاقات‪.‬‬
                                                                               ‫‪ ‬مساعات طبية للمكفولني ممن يعانون صعوابت أو مشاكل ابلسمع‬
                                                                              ‫‪ ‬نظارات طبية ملن يعانون مشاكل ابلنظر مثل قصر النظر واإلحنراف‬
                                                           ‫‪ ‬سرير مع فرشة هوائية طبية ملعاقة تعاين تشنج وإعوجاج ابلعمود الفقري وضمور ابلعضالت‬
                    ‫‪ ‬جهاز حاسوب إلحدى الطالبات املكفولة واليت تدرس الصيدلة وال يتوفر لديها جهاز حاسوب ملتابعة دراستها وواجباهتا اجلامعية‪.‬‬




                             ‫‪OA.‬‬                                                                                       ‫•‬  ‫‪% • ..‬‬
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                                                                                                                    ‫‪* I1‬‬‫‪4/i) Ibe .‬‬
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                                                                                                     ‫مشاريع ممولة من اإلتحاد األوروبي‬

‫ممولة من اإلحتاد األورويب‪ ،‬ويف هذا اإلطار‬
                                      ‫قامت قطر اخلريية ومن خالل عالقاهتا الطيبة مع املؤسسات احمللية والدولية بتشجيع مؤسسات حملية للت ّقدم ملشاريع ّ‬
                                                                 ‫فازت مؤسسة (احتاد جلان العمل الزراعي) مبشروعني يتم متويلهم من اإلحتاد األورويب كما يلي‪:‬‬



   ‫المشروع األول‪ :‬نقل مربي الثروة الحيوانية من اإلعتماد على اآلخر لإلعتماد على الذات من خالل تنمية‬
                                                                 ‫الثروة الحيوانية وزيادة حجم السوق‬
‫يتم العمل يف هذا املشروع يف ‪ 76‬موقع يف مناطق بيت حلم واخلليل وشرق القدس وجنوب أرحيا ومناطق شرق وجنوب الضفة الغربية‪ ،‬وبتمويل قدره‬
‫‪ 3,150,000.00‬يورو‪ ،‬ويستمر ملدة ‪ 24‬شهراً‪ ،‬وذلك ابلشراكة ما بني (احتاد جلان العمل الزراعي) و(قطر اخلريية) و(‪ )GVC – Italia‬و(جمموعة‬
                                      ‫اهليدرولوجيون الفلسطينيون لتطوير مصادر املياه والبيئة) و(مجعية أرحيا التعاونية لتنمية الثروة احليوانية) وشركاء آخرين‪.‬‬



                                                                                           ‫المشروع الثاني‪ :‬تطوير جودة زيت الزيتون‬
‫يتم العمل على هذا املشروع يف مناطق مشال الضفة الغربية‪ ،‬وبتمويل قدره ‪ 2,100,000.00‬يورو‪ ،‬ويستمر مدة ‪ 24‬شهراً‪ ،‬وذلك ابلشراكة ما بني (احتاد جلان‬
‫العمل الزراعي) و(قطر اخلريية) و(‪ )GVC – Italia‬و(جمموعة اهليدرولوجيون الفلسطينيون لتطوير مصادر املياه والبيئة) و(مركز العمل التنموي ‪ -‬معا)‬
                                                                                           ‫و(مؤسسة املواصفات واملقاييس الفلسطينية) وشركاء آخرين‪.‬‬




                                                                                                                                      ‫أنشطة متفرقة‬

                                                  ‫الرعاية اإلجتماعية لديها‪ ،‬بنشاطني خالل العام ‪ 2013‬كما يلي‪:‬‬
                                                                                                         ‫قامت قطر اخلريية ضمن برانمج الكفاالت و ّ‬


                                                                                                            ‫النشاط األول‪ :‬كفالة طالبة يتيمة‬
‫استجابة لطلب الكافل‪ ،‬فقد قامت قطر اخلريية بتحويل مبلغ ‪ 13000‬رايل إلحدى اليتيمات واليت بلغت عمر ‪ 18‬عاماً‪ ،‬وتنوي اإللتحاق ابجلامعة‪ ،‬ال سيما أن‬
                                                                                        ‫مبلغ كفالة اليتيم ال يكفي لتغطية تكاليف الدراسة اجلامعية‪.‬‬



                                                                                   ‫النشاط الثاني‪ :‬توريد حقيبة طاقة شمسية تعليمية‬
‫قامت قطر اخلريية ابستخدام مبلغ ‪ 1000‬رايل قطري فائض من أحد مشاريعها السابقة‪ ،‬وذلك من أجل توريد حقيبة تعليمية خاصة ابلطاقة الشمسية وذلك‬
            ‫لعدد من الطلبة األيتام املكفولني لدى قطر اخلريية وامللتحقني مبدرسة األيتام التابعة للجمعية اخلريية اإلسالمية يف مدينة اخلليل جنوب الضفة الغربية‪.‬‬


                                                                       ‫صفحة ‪ 16‬من ‪17‬‬
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                                                                     ‫شركاء قطر الخيرية في الضفة الغربية‬                     ‫‪I‬‬
                  ‫تقوم قطر اخلريية بتنفيذ مشاريعها من خالل عدد من الشركاء على الصعيدين احمللي والعريب‪ ،‬ندرج منهم التالية‪:‬‬


                                      ‫اسم الشريك‬                                ‫م‪.‬‬
                                           ‫بنك التنمية اإلسالمي ‪ -‬جدة‬           ‫‪.1‬‬
                                                    ‫وزارة اخلارجية القطرية‬      ‫‪.2‬‬
                                       ‫منظمة الدعوة االسالمية ‪ /‬الدوحة‬          ‫‪.3‬‬
                                          ‫وزارة األشغال العامة واإلسكان‬         ‫‪.4‬‬
                                                ‫وزارة الرتبية والتعليم العايل‬   ‫‪.5‬‬
                                                   ‫جامعة القدس املفتوحة‬         ‫‪.6‬‬
                                             ‫وزارة الزراعة والثروة السمكية‬      ‫‪.7‬‬
                                                              ‫وزارة الصحة‬       ‫‪.8‬‬
                                                            ‫جامعة بري زيت‬       ‫‪.9‬‬
                                         ‫بلدية العبيديه ‪ /‬حمافظة بيت حلم‬        ‫‪.10‬‬
                            ‫اجلمعية الفلسطينية للطاقة الشمسية واملستدامة‬        ‫‪.11‬‬
                              ‫احلملة الشعبية الفلسطينية "انقذوا االغوار "‬       ‫‪.12‬‬
                     ‫اللجنة االستشارية للمؤسسات الغري حكومية ‪-‬جنني‬              ‫‪.13‬‬
                        ‫برانمج االمم املتحدة االمنائي ‪ /‬مشروع ‪DEEP‬‬              ‫‪.14‬‬
                                        ‫جمموعة اهليدرولوجيني الفلسطينني‬         ‫‪.15‬‬
                                                ‫احتاد جلان العمل الزراعي‬        ‫‪.16‬‬
                             ‫املركز العاملي للتنمية املستدامة ‪GC- SD‬‬            ‫‪.17‬‬
                     ‫"مبادرة من طالب اىل طالب " لدعم الطلبة اجلامعيني‬           ‫‪.18‬‬
                                   ‫املركز العريب للتطوير الزراعي‪ACAD‬‬            ‫‪.19‬‬
                                                             ‫‪ACTED‬‬              ‫‪.20‬‬




                                            ‫صفحة ‪ 17‬من ‪17‬‬
